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&RXUW¶VFRQWLQXLQJMXULVGLFWLRQRIWKUHH4XDOLILHG6HWWOHPHQW)XQGVZKLFKDUHPRUHVSHFLILFDOO\

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GHWHUPLQLQJWKDWWKHWKUHH)XQGVLQFOXGLQJHDFKRIWKHLUWZRFRQVWLWXHQWIXQGVGHVFULEHGEHORZ

WKH³&RPPRQ%HQHILW)XQGV´DQGWKH³&RQWLQJHQF\)HH)XQGV´ DOOFRQVWLWXWHVLQJOHTXDOLILHG

VHWWOHPHQWIXQGVZLWKLQWKHPHDQLQJRIVHFWLRQ%RIWKH,QWHUQDO5HYHQXH&RGHRI DV

DPHQGHG DQG 7UHDVXU\ 5HJXODWLRQ 6HFWLRQV O%O HW VHT LY  DSSURYLQJ SD\PHQWV LQWR WKH

DJUHHG XSRQ 0'/ ([SHQVH )XQG Y  DSSURYLQJ D FRPPRQ EHQHILW DVVHVVPHQW RI  RQ DQ\

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WKHSD\PHQWREOLJDWLRQVRIDOOSULRURUGHUV (&)DQG(&) DSSURYLQJFRPPRQEHQHILW

DVVHVVPHQWVDJDLQVW6HWWOLQJ'HIHQGDQWV YL HVWDEOLVKLQJDVDVHSDUDWHTXDOLILHGVHWWOHPHQWIXQG

ZLWKLQ WKH PHDQLQJ RI VHFWLRQ % RI WKH ,QWHUQDO 5HYHQXH &RGH RI  DV DPHQGHG DQG

7UHDVXU\ 5HJXODWLRQ 6HFWLRQV O%O HW VHT D &RVW DQG ([SHQVH )XQG DV GHILQHG EHORZ LQ

6HFWLRQ9DQGDVPRUHIXOO\GHVFULEHGLQ([KLELW56HFWLRQ,, DQGDSSRLQWLQJDQDGPLQLVWUDWRUIRU

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$JUHHPHQWVDUHPHWWRPDNHSD\PHQWVLQWRWKHLUUHVSHFWLYH$WWRUQH\)HH)XQGVDVPRUH

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MXULVGLFWLRQRIWKLV&RXUWWKDWZLOOEHXVHGWRSD\DWWRUQH\V¶IHHVWKDWKDYHEHHQLQFXUUHGLQ

IXUWKHUDQFHRIWKHRSLRLGOLWLJDWLRQUHODWHGWRWKHVHGHIHQGDQWVLQFOXGLQJEXWQRWOLPLWHGWRZRUN

GRQHDQGIHHVLQFXUUHGZLWKUHVSHFWWRRSLRLGOLWLJDWLRQJHQHUDOO\DQGDJDLQVWRWKHUGHIHQGDQWV



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7KH$WWRUQH\)HH)XQGIRUHDFK6HWWOLQJ'HIHQGDQWZLOOFRQVLVWRIWKHIROORZLQJVHSDUDWHVXE

IXQGVZKLFKVKDOOWRJHWKHUFRQVWLWXWHDVLQJOHTXDOLILHGVHWWOHPHQWIXQGIRUHDFK6HWWOLQJ

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              x 7KH&RPPRQ%HQHILW)XQGVZKLFKVKDOOEHRIWKH)XQGDQGZKLFKVKDOO
                 KROGDQGGLVEXUVHIXQGVLQWHQGHGWRFRYHUFRPPRQEHQHILWZRUNDVGHILQHGLQ
                 SUHYLRXV2UGHUVRIWKH&RXUWDQG
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              x 7KH&RQWLQJHQF\)HH)XQGVZKLFKVKDOOEHRIWKH)XQGDQGZKLFKVKDOO
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                 5HSUHVHQWDWLRQVRI3DUWLFLSDWLQJ/LWLJDWLQJ6XEGLYLVLRQVWKDWPHHWWKHFULWHULDVHW
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          6XEMHFWWRWKHFRQGLWLRQVIRUPDNLQJSD\PHQWVVHWIRUWKLQWKHHDFKRIWKH6HWWOLQJ

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7RWDO3D\PHQWVKDOOEHSURUDWHGLQDFFRUGDQFHZLWKWKH:DOJUHHQV6HWWOHPHQW$JUHHPHQWDQGLWV




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SHUWDLQLQJWRUHOHYDQWUHGXFWLRQVVXVSHQVLRQVRURIIVHWVEHWULJJHUHGWKHDSSURSULDWHDPRXQWV

VKDOOUHYHUWIURPWKH:DOJUHHQV$WWRUQH\)HH)XQGWR:DOJUHHQVRUUHGXFHWKH:DOJUHHQV7RWDO

3D\PHQWFRQVLVWHQWZLWKWKHSURYLVLRQVLQWKH:DOJUHHQV6HWWOHPHQW$JUHHPHQWLQFOXGLQJ

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DSSURSULDWHDPRXQWVVKDOOUHYHUWIURPWKH:DOPDUW$WWRUQH\)HH)XQGWR:DOPDUWRUUHGXFHWKH

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        7KHREOLJDWLRQVRIWKH6HWWOLQJ'HIHQGDQWVLQWKH6HWWOHPHQW$JUHHPHQWVDULVHRXWRIWKH

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H[SHQGLWXUHVDULVLQJRXWRIWKHDOOHJHGPLVXVHDQGDEXVHRIRSLRLGSURGXFWVWKDWKDYHDOOHJHGO\

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        )RUWKHDYRLGDQFHRIGRXEWWKH:DOJUHHQV7RWDO3D\PHQWLVVHSDUDWHDQGGLVWLQFWIURP

WKH&RPSHQVDWRU\5HVWLWXWLRQ$PRXQW DVGHILQHGE\WKH:DOJUHHQV6HWWOHPHQW$JUHHPHQW 

ZKLFKLVFRPSHQVDWRU\UHVWLWXWLRQ ZLWKLQWKHPHDQLQJRI86&6HFWLRQ I  $ SDLG

DVGDPDJHVE\WKH6HWWOLQJ'HIHQGDQWVIRUWKH$OOHJHG+DUPVDOOHJHGO\VXIIHUHGE\WKH6HWWOLQJ

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PDGHLQWKHDPRXQWVRQWKH\HDUO\VFKHGXOHDQGVXEMHFWWRWKHDGMXVWPHQWVVHWIRUWKLQHDFK

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        7KH&RXUWKHUHE\DSSRLQWVDVWKHPRYDQWVUHTXHVWWKHWKUHHH[SHULHQFHGMXULVWVVSHFLDO

PDVWHUVDSSRLQWHGXQGHU0'/'RFNHW1RDV)HH3DQHO$UELWHUVWRRYHUVHHDQGDOORFDWH




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WKH&RPPRQ%HQHILW)XQGVDQGWKH&RQWLQJHQF\)HH)XQGV7KH&RXUWDSSRLQWV'DYLG5&RKHQ

DV$GPLQLVWUDWRUWRRYHUVHHDGPLQLVWUDWLRQDQGDGPLQLVWUDWLYHFRVWVRIWKH$WWRUQH\)HH)XQGV

,QWKHLQWHUHVWRIWUDQVSDUHQF\SURSRUWLRQDOLW\DQGHIILFLHQF\WKH&RXUWDSSRLQWVWKHVDPH

$UELWHUVWRRYHUVHHWKHGLVEXUVHPHQWRIWKH&RPPRQ%HQHILW)XQGVDVWKH&RQWLQJHQF\)HH

)XQGV

          :LWKUHVSHFWWRWKH&RQWLQJHQF\)HH)XQGVWKH$UELWHUVDUHGLUHFWHGWRHVWDEOLVKDQG

LPSOHPHQWSURFHGXUHVIRUWKHGLVWULEXWLRQRIWKH&RQWLQJHQF\)HH)XQGVFRQVLVWHQWZLWKWKH

WHUPVRI([KLELW5RIWKH6HWWOHPHQW$JUHHPHQWVDWWDFKHGWKHUHWR$VSDUWRIWKDWSURFHVV

FRXQVHOVXEPLWWLQJIHHSHWLWLRQVIRUHDFK3DUWLFLSDWLQJ/LWLJDWLQJ6XEGLYLVLRQZLOOUHSUHVHQWWKH\

ZDLYHHQIRUFHPHQWULJKWVDJDLQVWWKH3DUWLFLSDWLQJ6XEGLYLVLRQFOLHQWVRIDOOFRQWUDFWVHQWHUHG

LQWRLQFRQMXQFWLRQZLWKWKH4XDOLI\LQJ5HSUHVHQWDWLRQSULRUWRDSSO\LQJIRUDWWRUQH\V¶IHHVRU

FRVWVXQGHUWKH&RQWLQJHQF\)HH)XQGV,IDFOLHQWLVDQRQ6HWWOLQJRUQRQ3DUWLFLSDWLQJ&OLHQW

FRXQVHOVXEPLWWLQJIHHSHWLWLRQVGRHVQRWZDLYHHQIRUFHPHQWULJKWV7RWKHH[WHQWD6WDWH

DOORFDWLRQDJUHHPHQWRUSURFHVVSURYLGHVIRUDIHHIXQGVXFKDJUHHPHQWVVKDOOEHHQIRUFHDEOH

FRQVLVWHQWZLWK6WDWHODZDQGWKH6HWWOHPHQW$JUHHPHQWV

          $ZDUGVRIIHHVIURPWKH&RQWLQJHQF\)HH)XQGVVKDOOEHDYDLODEOHWR$WWRUQH\VZLWK

4XDOLI\LQJ5HSUHVHQWDWLRQVRI3DUWLFLSDWLQJ/LWLJDWLQJ6XEGLYLVLRQVHOLJLEOHWRUHFHLYHDQ

DOORFDWLRQXQGHUWKH6HWWOHPHQW$JUHHPHQWVDQGVKDOOEHPDGHDSSO\LQJWKH0DWKHPDWLFDO

0RGHODWWDFKHGDV([KLELW$WRWKH([KLELW5 WKH³0DWKHPDWLFDO0RGHO´ 7KHFROOHFWLRQRIWKH

GDWDDQGFDOFXODWLRQVIRUWKH0DWKHPDWLFDO0RGHOKDVEHHQDFRRSHUDWLYHHIIRUWDPRQJSULYDWH

FRXQVHOIRUDODUJHQXPEHURI/LWLJDWLQJ6XEGLYLVLRQV7KH)HH3DQHOLVHQFRXUDJHGWRFRQWLQXH

ZRUNLQJZLWKWKRVHFRXQVHOLQDSSOLFDWLRQRIWKH0DWKHPDWLFDO0RGHO7KH)HH3DQHOVKDOO

RYHUVHHWKHDSSOLFDWLRQRIWKH0DWKHPDWLFDO0RGHODQGUHVROYHDQ\TXHVWLRQVRUGLVSXWHV




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FRQFHUQLQJWKHHOLJLELOLW\RIDQ$WWRUQH\WRSDUWLFLSDWHDVUHTXLUHGLQ6HFWLRQV,,*+RI([KLELW

5WRHDFKRIWKH&96:DOJUHHQVDQG:DOPDUW6HWWOHPHQW$JUHHPHQWV7KH)HH3DQHOLV

HPSRZHUHGWRKHDUGLVSXWHVFRQFHUQLQJDQGHQVXUHWKHDFFXUDF\RIWKHPDWKHPDWLFDOFDOFXODWLRQ

$VWRDZDUGVIURPWKH&RQWLQJHQF\)HH)XQGVWKHUHVKDOOEHQRULJKWRIDSSHDO$Q\DSSHDORI

DQDZDUGRIWKH)HH3DQHOIURPWKH&RPPRQ%HQHILW)XQGVZLOOEHPDGHWRWKLV&RXUWDQGEH

UHYLHZHGXQGHUDQDEXVHRIGLVFUHWLRQVWDQGDUG

       7KH&RXUWKHUHE\  DXWKRUL]HVWKH$UELWHUVWRFRPPHQFHVWDUWXSZRUNZKLFKVKDOOEH

FRPSHQVDWHGDVVHWIRUWKEHORZ  GLUHFWVWKH$UELWHUVWRVHWXSDSURFHVVWRUHFHLYHUHTXHVWVIRU

FRPPRQEHQHILWIHHVDQGVHWIRUWKWKHUHTXLUHGPDWHULDOVWREHSURYLGHGWRWKHPLQFRQQHFWLRQ

ZLWKIHHSHWLWLRQVZKLFKPD\EHLQVXSSOHPHQWDWLRQRIUHTXHVWVPDGHSXUVXDQWWRRWKHU

VHWWOHPHQWV  GLUHFWVWKH$UELWHUVRQFHWKHFRQGLWLRQVQHFHVVDU\IRUWKH6HWWOHPHQW

$JUHHPHQWVWRFRPHLQWRHIIHFWDUHIXOILOOHGWRPDNHDSUHOLPLQDU\UHFRPPHQGDWLRQRQWKH

GLVWULEXWLRQRIFRPPRQEHQHILWIHHVDQG  GLUHFWVWKH$UELWHUVWRDGGUHVVDQ\UHTXHVWVWREH

KHDUGUHJDUGLQJWKDWSUHOLPLQDU\UHFRPPHQGDWLRQE\DWWRUQH\VWKDWVRXJKWFRPPRQEHQHILWIHHV

DQGPDNHDILQDOUHFRPPHQGDWLRQWRWKH&RXUW7KLV&RXUWZLOOPDNHWKHILQDOGHWHUPLQDWLRQRI

DQDSSURYHGGLVWULEXWLRQRIDQ\FRPPRQEHQHILWIXQGV1RGLVWULEXWLRQVVKDOOEHPDGHIURPWKH

&RQWLQJHQF\)HH)XQGVRUWKH&RPPRQ%HQHILW)XQGVH[FHSWWKURXJKWKHSURFHVVHVWDEOLVKHGE\

WKLV2UGHUDQGE\WKH$UELWHUVSXUVXDQWWRWKLV2UGHU

       $OOSD\PHQWVLQWRWKH)XQGVDQGDQ\LQWHUHVWWKHUHRQZLOOEHKHOGE\WKH)XQGVXQWLO

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&RXUW¶VVXSHUYLVLRQLQDFFRUGDQFHZLWKWKHWHUPVRIWKH6HWWOHPHQW$JUHHPHQWVDQGDQ\HVFURZ

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6XEGLYLVLRQVDQGWKHLUFRXQVHOVKDOOEHFRQVLGHUHGWREHLQFRQVWUXFWLYHUHFHLSWDVGHWHUPLQHG

XQGHUIHGHUDOLQFRPHWD[SULQFLSOHVRIDQ\DPRXQWVKHOGE\WKH)XQGV

       7KH)XQGVVKDOOEHVWUXFWXUHGDQGRSHUDWHGLQDPDQQHUVRWKDWWKH\TXDOLI\DV³TXDOLILHG

VHWWOHPHQWIXQGV´DVGHVFULEHGLQ7UHDVXU\5HJXODWLRQV6HFWLRQ%DQGVKDOOUHPDLQ

VXEMHFWWRWKHFRQWLQXLQJMXULVGLFWLRQRIWKLV&RXUW7KH&RQWLQJHQF\)HH)XQGVDQGWKH&RPPRQ

%HQHILW)XQGVIRUHDFKVHWWOLQJ'HIHQGDQWVKDOOEHHVWDEOLVKHGDVVXEIXQGVRIWKHLUUHVSHFWLYH

)XQGVWKDWWRJHWKHUFRQVWLWXWHDVLQJOHTXDOLILHGVHWWOHPHQWIXQGIRUHDFK6HWWOLQJ'HIHQGDQW

       7KH&RXUWDSSRLQWV'DYLG5&RKHQZKRLVRQHRIWKH&RXUWDSSRLQWHG$UELWHUVWRVHUYH

DV7UXVWHHDQGDVWKH$GPLQLVWUDWRU WKH³$GPLQLVWUDWRU7UXVWHH´ RIWKHVHTXDOLILHGVHWWOHPHQW

IXQGVIRUSXUSRVHVRI7UHDVXU\5HJXODWLRQV6HFWLRQO% N  DQGZKRVKDOOEHUHVSRQVLEOH

IRUPDNLQJDQ\QHFHVVDU\WD[ILOLQJVDQGSD\PHQWVRIWD[HVHVWLPDWHGWD[HVDQGDVVRFLDWHG

LQWHUHVWDQGSHQDOWLHVLIDQ\E\WKH)XQGV7KH$GPLQLVWUDWRU7UXVWHHVKDOOEHUHVSRQVLEOHIRU

UHVSRQGLQJWRDQ\TXHVWLRQVIURPRUDXGLWVUHJDUGLQJVXFKWD[HVE\WKH,QWHUQDO5HYHQXH

6HUYLFHRUDQ\VWDWHRUORFDOWD[DXWKRULW\DVZHOODVTXHVWLRQVIURPWKH'HSDUWPHQWRI/DERU

7KH$GPLQLVWUDWRU7UXVWHHVKDOODOVREHUHVSRQVLEOHIRUFRPSO\LQJZLWKDOOWD[LQIRUPDWLRQ

UHSRUWLQJDQGZLWKKROGLQJUHTXLUHPHQWVZLWKUHVSHFWWRSD\PHQWVPDGHE\WKH)XQGVDVZHOODV

SD\LQJDQ\DVVRFLDWHGLQWHUHVWDQGSHQDOWLHV$OOVXFKWD[LQWHUHVWDQGSHQDOW\SD\PHQWVDQGDOO

H[SHQVHVDQGFRVWVLQFXUUHGLQFRQQHFWLRQZLWKWD[DWLRQRIWKH)XQGV LQFOXGLQJZLWKRXW

OLPLWDWLRQH[SHQVHVRIWD[DWWRUQH\VDQGDFFRXQWDQWV VKDOOEHSDLGIURPWKH)XQGVDQGVKDOOEH

FRQVLGHUHGDGPLQLVWUDWLYHFRVWVRIWKHVHWWOHPHQW

       :LWKUHVSHFWWRZRUNXQGHUWDNHQE\WKH$UELWHUVRU$GPLQLVWUDWRU7UXVWHHSULRUWRWKH

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           1RERQGVKDOOEHUHTXLUHG7KH)XQGVVKDOOEHKHOGXQGHUWKLV&RXUW¶VRQJRLQJ

MXULVGLFWLRQDWDILQDQFLDOLQVWLWXWLRQVHOHFWHGE\WKH$GPLQLVWUDWRU7UXVWHHLQKLVGLVFUHWLRQDQG

DSSURYHGE\WKH&RXUW$OODPRXQWVGHSRVLWHGLQWKH)XQGVVKDOOEHLQYHVWHGFRQVHUYDWLYHO\LQD

PDQQHUGHVLJQHGWRDVVXUHWLPHO\DYDLODELOLW\RIIXQGVSURWHFWLRQRISULQFLSDODQGDYRLGDQFHRI

FRQFHQWUDWLRQULVNFRQVLVWHQWZLWKWKHOLPLWDWLRQVVHWIRUWKLQ([KLELW57KHVHUYLFHVRIWKH

$GPLQLVWUDWRU7UXVWHHDQGWKH&RXUWDSSRLQWHGPHPEHUVRIWKH)HH3DQHODQGDQ\YHQGRUVDQG

VHUYLFHVWKH\GHWHUPLQHWREHQHFHVVDU\DQGDSSURSULDWHWRFRQGXFWDQGFRPSOHWHWKHLUZRUN

VKDOOEHSDLGRUUHLPEXUVHGIURPWKHLQWHUHVWHDUQHGRUIURPWKH)XQG

           7KH$GPLQLVWUDWRU7UXVWHHZLOOREWDLQD)HGHUDO7D[SD\HU,GHQWLILFDWLRQ1XPEHUIRUHDFK

)XQGXSRQHQWU\RIDQRUGHUE\WKLV&RXUWHVWDEOLVKLQJWKH)XQGV7KH$GPLQLVWUDWRU7UXVWHH

VKDOOEHDXWKRUL]HGXSRQILQDOGLVWULEXWLRQRIDOOPRQLHVSDLGLQWRWKH)XQGVWRWDNHDSSURSULDWH

VWHSVWRZLQGGRZQWKH)XQGVDQGWKHUHDIWHUEHGLVFKDUJHGIURPDQ\IXUWKHUUHVSRQVLELOLW\ZLWK

UHVSHFWWRWKH)XQGV

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           7KH&RXUWKHUHE\DSSRLQWV'DYLG5&RKHQ5DQGL6(OOLVDQG+RQ'DYLG5+HUQGRQ

    UHW WRVHUYHDV$UELWHUVRQWKH)HH3DQHOFKDUJHGZLWKWKHIDLUHTXLWDEOHDQGUHDVRQDEOH

DOORFDWLRQRIDZDUGVIURPWKH&RPPRQ%HQHILW)XQGVDQG&RQWLQJHQF\)HH)XQGVSXUVXDQWWR

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           'DYLG5&RKHQLVZHOONQRZQWRWKLV&RXUWDQGLQWLPDWHO\IDPLOLDUZLWKWKHLVVXHVRIWKH

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WKDW3UH(IIHFWLYH'DWHFRVWVDVVRFLDWHGZLWKWKH&RVWDQG([SHQVH)XQG$GPLQLVWUDWRUVKDOOEHSDLGIURP
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$JUHHPHQWVHDFKSURYLGHWKDWWKH&RVWDQG([SHQVH)XQG$GPLQLVWUDWRUVKDOOKDYHWKHDXWKRULW\WR
DJJUHJDWHDOORFDWHDQGVKDUHDPRQJVHSDUDWHFRVWVIXQGVFUHDWHGE\WKLV0'/


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+HKDVH[WHQVLYHH[SHULHQFHDVDVSHFLDOPDVWHUIRUIHGHUDOMXGJHVLQRWKHU0'/VDVZHOODQGDV

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        5DQGL6(OOLVKDVVHUYHGDVDFRXUWDSSRLQWHGPHGLDWRUVSHFLDOPDVWHURUQHXWUDOLQRYHU

WZRGR]HQPDMRU0'/VFODVVDFWLRQVDQGPDVVWRUWV7KLVVHUYLFHWRQXPHURXVFRXUWVLQFOXGHV

WKHDOORFDWLRQRIVHWWOHPHQWSURFHHGVDPRQJFODLPDQWVGHWHUPLQLQJWKHUHDVRQDEOHQHVVRI

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        +RQ'DYLG5+HUQGRQUHWLUHGUHFHQWO\IURP\HDUVDVDMXGJHLQFOXGLQJVHUYLFHDVDQ

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        (DFKRIWKHVH$UELWHUVKDVZRUNHGZLWKWKRXVDQGVRIODZ\HUVIURPDFURVVWKHFRXQWU\LQ

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LQYROYHGLQWKHIDLUDQGUHDVRQDEOHFRQVLGHUDWLRQDQGDOORFDWLRQRIFRPPRQEHQHILWDQG

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        7KH&RXUWKHUHE\GLUHFWVWKH)HH3DQHOWRDGPLQLVWHUWKH)XQGVLQDFFRUGDQFHZLWKWKH

6HWWOHPHQW$JUHHPHQWV LQFOXGLQJWKH([KLELWV5 WKHSULQFLSOHVRIWUDQVSDUHQF\DQGHTXLW\DQG

WKHIROORZLQJUHTXLUHPHQWVDQGFRQGLWLRQVIRUDQ\DWWRUQH\VHHNLQJDQDZDUGIURPWKH$WWRUQH\

)HH)XQGV

    $ $PRXQWVGLVEXUVHGIURPWKH)XQGVDUHDYDLODEOHRQO\WR$WWRUQH\VHQJDJHGLQ4XDOLI\LQJ
        5HSUHVHQWDWLRQV1R$WWRUQH\PD\DSSO\IRURUUHFRYHUIURPWKH)XQGVDQ\FRVWVLQFXUUHG
        RUIHHVDULVLQJIURPUHSUHVHQWLQJD1RQ6HWWOLQJ6WDWHRUD1RQ3DUWLFLSDWLQJ6XEGLYLVLRQ
        $EVHQWDJUHHPHQWRWKHUZLVHHQWHUHGEHWZHHQWKH0'/&R/HDGVDQGWKH7ULEDO
        /HDGHUVKLS&RXQVHORU2UGHURIWKH&RXUWDQ$WWRUQH\UHSUHVHQWLQJD7ULEHWKDWLVD
        3DUWLFLSDWLQJ7ULEHLQWKH7ULEDO6HWWOHPHQW$JUHHPHQWZLWKD6HWWOLQJ'HIHQGDQWLV
        HOLJLEOHWRSDUWLFLSDWHLQWKH&RPPRQ%HQHILW)XQGVDQGPD\VHHNWRSDUWLFLSDWHLQWKH
        6XEGLYLVLRQ&RVWDQG([SHQVH)XQGEXWWKH\VKDOOQRWEHHOLJLEOHWRSDUWLFLSDWHLQWKH
        &RQWLQJHQF\)HH)XQGVXQGHU([KLELW5
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      DQ\DZDUGIURPWKH)XQGV  DQ\DQGDOODWWRUQH\V¶IHHVLQFOXGLQJUHIHUUDOIHHV
      H[SHQVHVSDLGSURPLVHVIRUSD\PHQWRUDQ\RWKHU)HH(QWLWOHPHQWWRDQ\DSSOLFDQWLQ
      DQ\RSLRLGOLWLJDWLRQ  DQ\SD\PHQWH[SHFWDWLRQRISD\PHQWRURSSRUWXQLW\WR
      SDUWLFLSDWHLQD6WDWH%DFN6WRS$JUHHPHQWRUDQ\RWKHUDJUHHPHQWUHJDUGLQJSD\PHQWRI
      IHHVDQG  DQ\ULJKWWRSD\PHQWIURPDQ\RWKHUIXQGFUHDWHGXQGHUHLWKHURIWKH
      6HWWOHPHQW$JUHHPHQWVRUIURPIXQGVSDLGXQGHUHLWKHURIWKHP
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      $WWRUQH\PXVW  H[SUHVVO\ZDLYHHQIRUFHPHQWDJDLQVWHYHU\3DUWLFLSDWLQJ/LWLJDWLQJ
      6XEGLYLVLRQFOLHQWRIDOO)HH(QWLWOHPHQWV RWKHUWKDQXQGHU6WDWH%DFN6WRS$JUHHPHQWV 
      DULVLQJRXWRIRUUHODWHGWRDQ\RUDOO4XDOLI\LQJ5HSUHVHQWDWLRQVRIDQ\3DUWLFLSDWLQJ
      /LWLJDWLQJ6XEGLYLVLRQ VXFKZDLYHUVKDOOQRWSUHFOXGHWKH$WWRUQH\IURPVXEPLWWLQJVXFK
      )HH(QWLWOHPHQWVWRWKH)HH3DQHODVDIDFWRUIRUFRQVLGHUDWLRQLQDOORFDWLQJSD\PHQWV
      IURPWKH)XQGVRULQFRQQHFWLRQZLWKD6WDWH%DFN6WRS$JUHHPHQWIRUWKHDYRLGDQFHRI
      GRXEWQR$WWRUQH\PD\UHFRYHUIHHVXQGHU([KLELW5WRWKH6HWWOHPHQW$JUHHPHQWV
      XQOHVVWKH$WWRUQH\H[SUHVVO\DJUHHVQRWWRHQIRUFH)HH(QWLWOHPHQWVDVWRHDFKDQGHYHU\
      3DUWLFLSDWLQJ/LWLJDWLQJ6XEGLYLVLRQUHSUHVHQWHGE\WKDW$WWRUQH\EXWVXFK$WWRUQH\V
      PD\SDUWLFLSDWHLQDQGUHFHLYHIXQGVIURPD6WDWH%DFN6WRS$JUHHPHQW   SURYLGH
      QRWLFHWRWKHDSSOLFDEOHFOLHQW V RIWKHZDLYHUGHVFULEHGLQVXEVHFWLRQ  DQGPDNHDQ
      DIILUPDWLRQRUFHUWLILFDWLRQRIWKHDIRUHPHQWLRQHGZDLYHU  UHSUHVHQWWKDWVKHKDVQR
      SUHVHQWLQWHQWWRUHSUHVHQWRUSDUWLFLSDWHLQWKHUHSUHVHQWDWLRQRIDQ\/DWHU/LWLJDWLQJ
      6XEGLYLVLRQRUDQ\5HOHDVRUZLWKUHVSHFWWR5HOHDVHG&ODLPVDJDLQVW5HOHDVHG(QWLWLHV
         UHSUHVHQWWKDWVKHKDVQRWDQGZLOOQRWHQJDJHLQDQ\DGYHUWLVLQJRUVROLFLWDWLRQ
      UHODWHGWR5HOHDVHG&ODLPVDJDLQVW5HOHDVHG(QWLWLHVZKHUHVXFKDGYHUWLVLQJRU
      VROLFLWDWLRQUHODWHVWRDUHSUHVHQWDWLRQRID6XEGLYLVLRQHOLJLEOHWREHD3DUWLFLSDWLQJ
      6XEGLYLVLRQDIWHUWKH5HIHUHQFH'DWH RUIRUWKH:DOPDUW6HWWOHPHQW$JUHHPHQWWKH
      7KUHVKROG6XEGLYLVLRQ3DUWLFLSDWLRQ'DWH XQOHVVWKH$WWRUQH\LVUHFRPPHQGLQJ
      SDUWLFLSDWLRQLQWKH$JUHHPHQW  UHSUHVHQWWKDWVKHZLOOQRWFKDUJHRUDFFHSWDQ\
      UHIHUUDOIHHVIRUDQ\5HOHDVHG&ODLPVEURXJKWDJDLQVW5HOHDVHG(QWLWLHVE\/DWHU
      /LWLJDWLQJ6XEGLYLVLRQVRU/DWHU/LWLJDWLQJ6WDWHV  QRWKDYHDQGPXVWUHSUHVHQWWKDW
      VKHGRHVQRWKDYHDQ\)HH(QWLWOHPHQWUHODWHGWRD/DWHU/LWLJDWLQJ6XEGLYLVLRQRU/DWHU
      /LWLJDWLQJ6WDWH  IXOO\GLVFORVHWKHSDUWLFLSDWLRQRUWKHDQWLFLSDWLRQRISDUWLFLSDWLRQLQ
      DQ\DJUHHPHQWZLWKD6HWWOLQJ6WDWHRU3DUWLFLSDWLQJ6XEGLYLVLRQFRQFHUQLQJIHHVDULVLQJ
      RXWRIRUUHODWHGWRWKH6HWWOLQJ'HIHQGDQWV¶6HWWOHPHQW$JUHHPHQWVLQFOXGLQJDQ\IHHV
      SDLGRUDQWLFLSDWHGWREHSDLGIURPDQ\6WDWH%DFN6WRS$JUHHPHQW  LGHQWLI\IRUWKH
      )HH3DQHOZKHWKHUVKHXWLOL]HGVWDWHOLWLJDWLRQZRUNSURGXFWRU0'/ZRUNSURGXFW
      LQFOXGLQJEXWQRWOLPLWHGWR$5&26GDWDGRFXPHQWUHSRVLWRULHVH[SHUWVGHYHORSHGLQ
      WKH0'/WULDOWUDQVFULSWVDQGGHSRVLWLRQWUDQVFULSWVDVZHOODVZKHWKHUVKHVLJQHGWKH
      0'/SDUWLFLSDWLRQDJUHHPHQWDQG  UHSUHVHQWDQGDIILUPWKDWKDYLQJH[HUFLVHGKLVKHU
      LQGHSHQGHQWMXGJPHQWVKHEHOLHYHVWKH6HWWOHPHQW$JUHHPHQWVWREHIDLUDQGZLOOPDNH
      RUKDVPDGHEHVWHIIRUWVWRUHFRPPHQGWKH6HWWOHPHQW$JUHHPHQWVWRKLVKHU6XEGLYLVLRQ
      FOLHQWVLQ6HWWOLQJ6WDWHVKDYLQJH[HUFLVHGKLVKHULQGHSHQGHQWMXGJPHQWLQWKHEHVW
      LQWHUHVWRIHDFKFOLHQWLQGLYLGXDOO\EHIRUHGHWHUPLQLQJZKHWKHUWRUHFRPPHQGMRLQLQJWKH
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      ' ,QRUGHUWRFRQWLQXHUHFHLYLQJDZDUGVIURPWKH)XQGVDQDWWRUQH\PXVWSURYLGHDQDQQXDO
          FHUWLILFDWLRQWKDWKHRUVKHFRQWLQXHVWRPHHWWKHHOLJLELOLW\UHTXLUHPHQWVVSHOOHGRXW
          DERYHLQ6HFWLRQ,9 & DQGLQ([KLELW5RIWKH6HWWOLQJ'HIHQGDQWV¶6HWWOHPHQW
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      ( $WWRUQH\VDSSO\LQJWRWKH)XQGVNQRZLQJO\DQGH[SUHVVO\DJUHHWREHERXQGE\WKH
          GHFLVLRQVRIWKH)HH3DQHODQGZDLYHWKHDELOLW\WRDVVHUWWKHODFNRUHQIRUFHDELOLW\RIWKH
          DOORFDWLRQUHDFKHGWKURXJKWKHSURFHGXUHVRXWOLQHGLQ([KLELW5RIWKH6HWWOHPHQW
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          ,QPDNLQJWKHLUGHWHUPLQDWLRQVWKH$UELWHUVDUHKHUHE\FKDUJHGWRFRQVLGHUWKHJohnson5

IDFWRUVDVWKHVHKDYHEHHQDSSOLHGDQGLQWHUSUHWHGE\WKHIHGHUDOFRXUWVZLWKUHIHUHQFHWR

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      $ WKHDSSOLFDQW¶VFRQWHPSRUDQHRXVO\UHFRUGHGWLPHDQGODERUGHGLFDWHGWR4XDOLI\LQJ
          5HSUHVHQWDWLRQVDORQJZLWKWKHDSSOLFDQW¶VILQDQFLDOFRPPLWPHQWWRVXFK4XDOLI\LQJ
          5HSUHVHQWDWLRQV&ODLPHG³WLPH´ZLOOQRWEHDXWRPDWLFDOO\DFFHSWHGE\WKH)HH3DQHOEXW
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      WLPHZDVVXEMHFWWRWKHDXGLWSURFHVVGHVFULEHGLQDQ\3UHWULDO2UGHU V JRYHUQLQJWKH
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      ZKHWKHUVXFKFRPPRQEHQHILWZRUNSURGXFWE\WKDWDSSOLFDQWZDVXVHGE\RWKHUVLQ
      SDUDOOHOOLWLJDWLRQVDJDLQVW5HOHDVHG(QWLWLHVZKHWKHUZLWKLQRURXWVLGHRIWKH0'/
      SURYLGHGWKDWDQ\DSSOLFDQWFODLPLQJWKDWVKHVXEVWDQWLDOO\EHQHILWWHGFDVHVRWKHUWKDQ
      WKRVHLQZKLFKVKHHQWHUHGDQDSSHDUDQFHDVFRXQVHOPXVWVXEVWDQWLDWHVXFKFODLPVE\
      SURIIHULQJIDFWXDOVXSSRUWVXFKDVSURSHUVXSSRUWLQJDIILGDYLWVRURWKHUGRFXPHQWVDV
      GHWHUPLQHGE\WKH)HH3DQHOZLWKLQSXWIURPDSSOLFDQWVIRU3DUWLFLSDWLQJ/LWLJDWLQJ
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      $JUHHPHQWV
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      HQIRUFHPHQWRIZKLFKH[FHSWIRU6WDWH%DFN6WRS$JUHHPHQWVDUHZDLYHGLQFRQMXQFWLRQ
      ZLWKWKHDSSOLFDWLRQWKHQDWXUHDQGH[WHQWRIDQ\ZRUNIRUWKRVH3DUWLFLSDWLQJ
      6XEGLYLVLRQVZKHWKHUVXFK3DUWLFLSDWLQJ6XEGLYLVLRQVDFWLYHO\OLWLJDWHGDQGLIVRWKH
      QDWXUHDQGSURFHGXUDOKLVWRU\RIVXFKFDVH V 
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  . WKHQDWXUHRIDQ\ZRUNE\WKHDSSOLFDQWRQ³EHOOZHWKHU´FDVHVRUFDVHVWKDWZHUHVLPLODUO\
      DFWLYHLQOLWLJDWLRQ
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  / DQ\SUHVVXUHSRLQWVVXFFHVVIXOO\H[HUWHGE\WKHDSSOLFDQWLQFDVHVDJDLQVWWKH6HWWOLQJ
      'HIHQGDQWVRUDQ\ULVNIRU6HWWOLQJ'HIHQGDQWVFUHDWHGE\WKHDSSOLFDQWLQFDVHVDJDLQVW
      WKHP
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  0DQ\ULVNIRUGHIHQGDQWVFUHDWHGE\DSSOLFDQWVLQFDVHVDJDLQVWWKH6HWWOLQJ'HIHQGDQWV
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  1 VXFFHVVIXODQGXQVXFFHVVIXOPRWLRQSUDFWLFHLQFDVHVZRUNHGRQE\WKHDSSOLFDQW
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   3 REWDLQLQJFRQVROLGDWLRQRIWKHOLWLJDWLRQLQWKHDSSOLFDQW¶VMXULVGLFWLRQ
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   4 WKHQXPEHUDQGSRSXODWLRQRIHQWLWLHVUHSUHVHQWHGE\WKHDSSOLFDQWDQGWKHIHHVWKDWZRXOG
       KDYHEHHQDZDUGHGXQGHUWKHH[WLQJXLVKHGFRQWLQJHQWIHHDJUHHPHQWV
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   5 ZKHWKHUWKHDSSOLFDQWV¶FOLHQWVEURXJKWFODLPVDJDLQVWWKH6HWWOLQJ'HIHQGDQWV
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   6 ZKHWKHUWKHDSSOLFDQWKDVKDGDOHDGHUVKLSUROHLQWKHOLWLJDWLRQZKHWKHULQVWDWHRU
       IHGHUDOFRXUW
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   7 ZKHWKHUWKHDSSOLFDQWKDVKDGDOHDGHUVKLSUROHLQDQ\QHJRWLDWLRQVDLPHGDWUHVROYLQJWKH
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   8 ZKHWKHUWKHDSSOLFDQW¶VFDVHVKDYHVXUYLYHGPRWLRQVWRGLVPLVV
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       EHQHILWRIRSLRLGVOLWLJDQWVLQFOXGLQJZLWKRXWOLPLWDWLRQZRUNRQ$5&26GDWD
       3UHVFULSWLRQ'DWD0RQLWRULQJ3URJUDPV,49,$GDWDGHSRVLWLRQVGRFXPHQWSURGXFWLRQ
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       VHWWOHPHQWQHJRWLDWLRQVDVGLVWLQFWIURPOLWLJDWLRQWKDWZDVGRQHOLWLJDWLQJDIWHUWKH
       DQQRXQFHPHQWRIWKH6HWWOHPHQW$JUHHPHQWVVXFKODWWHUOLWLJDWLRQERWKEHLQJRIOHVV
       YDOXHDQGSRWHQWLDOO\UHVXOWLQJLQDFRPPRQGHWULPHQWWRWKHVHWWOHPHQWSURFHVVDQG
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       DSSOLFDQWVWRWKH$WWRUQH\)HH)XQGV
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       7KH&RXUWQRWHVWKDWWKHJRDORIWKH6HWWOHPHQW$JUHHPHQWVLVWRSURYLGHIRUPD[LPXP

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6HWWOHPHQWVVKRXOGQRWEHFRQVLGHUHG&RPPRQ%HQHILWDQGVKDOOEHFRQVLGHUHGDQDGYHUVH

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SURJUDPV7KH)HH3DQHOVKDOOFRQVLGHUWKLVFRQFHSWRI³FRPPRQGHWULPHQW´VHWIRUWKLQ([KLELW

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EHQHILWHGFDVHVRWKHUWKDQWKRVHLQZKLFKKHRUVKHHQWHUHGDQDSSHDUDQFHDVFRXQVHOPXVW

VXEVWDQWLDWHWKRVHFODLPVE\SURIIHULQJIDFWXDOVXSSRUWVXFKDVSURSHUVXSSRUWLQJDIILGDYLWVDQG

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FRPPRQEHQHILWRUGHUKHUHLQRURWKHUHIIRUWWRWD[UHFRYHULHVDZDUGHGE\WKH)HH3DQHOIRU)HHV

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IURP$WWRUQH\VIRU3DUWLFLSDWLQJ/LWLJDWLQJ6XEGLYLVLRQVDGGUHVVLQJZKRVKRXOGSHWLWLRQIRUIHHV

IURPVXFKJURXSVDQGWRZKRPWKHIHHVKDOOEHSDLGDQGWKHUHDIWHUGLVWULEXWHGWRDOOFRFRXQVHOLQ

DFFRUGDQFHZLWKDSSOLFDEOHDJUHHPHQWV

       7KH&RXUWFKDUJHVWKH)HH3DQHOWR  UHYLHZWKHDSSOLFDWLRQVRIDOO$WWRUQH\VVHHNLQJ

FRPSHQVDWLRQIURPWKH&RPPRQ%HQHILW)XQGVLQFOXGLQJGHWHUPLQLQJHOLJLELOLW\IRUHDFK

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 See e.g., In re Gadolinium-Based Contrast Agents Prods. Liab. Litig., FDVHQR*'GRFNHWQR
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re Avandia Marketing, Sales Practices and Prods. Liab. Litig.,:/DW  ('3D2FW
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